     Case:17-03725-EAG11 Doc#:85 Filed:05/11/18 Entered:05/11/18 16:33:31     Desc: Main
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 1                         IN THE UNITED STATES BANKRUPTCY COURT FOR
                                  THE DISTRICT OF PUERTO RICO
 2

 3     IN RE:

 4                                              CASE NO. 17-03725 EAG

       ELIZABETH     VEGA RAMOS                 Chapter 11
 5
       MARTIN   RODRIGUEZ COLON
 6

 7
       XXX-XX-8084
 8
       XXX-XX-1157
 9
                                                     FILED & ENTERED ON 5/11/2018
10
                        Debtor(s)
11

12                                           ORDER
13          The second motion filed by the debtors in possession requesting extension
14    of time to file the disclosure statement and plan and to file outstanding monthly
15
      operating reports (docket #81) is hereby granted.
16
            IT IS SO ORDERED.
17
            Ponce, Puerto Rico, this 11 day of May, 2018.
18

19

20
                                                              Edward A Godoy
21                                                        U.S. Bankruptcy Judge

22    CC:   DEBTOR(S)
            LYSSETTE A MORALES VIDAL
23

24

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